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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3      United States of America,       ) Criminal Action
                                        ) No. 19-CR-125
 4                         Plaintiff,   )
                                        ) JURY TRIAL
 5      vs.                             ) Day 15 - Morning
                                        )
 6      Gregory B. Craig,               ) Washington, DC
                                        ) September 3, 2019
 7                         Defendant.   ) Time: 9:45 a.m.
        ___________________________________________________________
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                TRANSCRIPT OF JURY TRIAL - DAY 15 - MORNING
 9                               HELD BEFORE
                   THE HONORABLE JUDGE AMY BERMAN JACKSON
10                      UNITED STATES DISTRICT JUDGE
        ____________________________________________________________
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 1                 THE COURTROOM DEPUTY:      Good morning.     We have

 2      =criminal case 19-125, United States of America v. Gregory B.

 3      Craig.   Mr. Craig is present in the courtroom.

 4                 MR. CAMPOAMOR-SANCHEZ:       Good morning, Your Honor.

 5      Molly Gaston, Jason McCullough and Fernando Campoamor for the

 6      United States.

 7                 THE COURT:    Good morning.

 8                 MR. TAYLOR:     Good morning, Your Honor.      William

 9      Taylor, William Murphy, Paula Junghans, Adam Abelson, and Ezra

10      Marcus for Mr. Craig.

11                 THE COURT:    All right.     Good morning.    I hope

12      everybody had a good weekend.       I know everybody had a lot of

13      work to do.    I'm still suffering from whatever it was, but I

14      determined that it was allergies and, therefore, it was good

15      that I was inside in front of my computer the whole weekend,

16      instead of being outside, in the sun.

17                 I have several motions to rule on.         When we spoke at

18      the close of the government's case, I was giving you a preview

19      of what I anticipated my rulings were going to be with respect

20      to instructions, but I actually have to tell you what those

21      rulings are officially.      I also want to give you the legal

22      reasoning for why the instructions are written the way they are

23      written.

24                 There are a few things here and there that we can

25      discuss, and you certainly are going to have the opportunity to
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 1      place your objections on the record to everything that you

 2      object to.    But I think that the instructions that we have

 3      accurately arise out of the facts and reflect the legal

 4      landscape that's going to govern this case.

 5                   I've given you a new copy of the instructions that

 6      have them more in the order that I would intend to give them

 7      and -- John has them -- and the instructions that we would give

 8      at the end are added.      And I think, with the exception of the

 9      elements of the offense instruction, we'll be able to go

10      through the rest of them pretty quickly.         They're all

11      consistent with what you all gave me.        There were some where

12      you gave me dueling versions, where I either incorporated

13      something from both versions or I stuck with the Red Book.

14                   There is first, though, a motion in limine, docket

15      121.   The defendant has moved in limine for a ruling that the

16      government cannot use the two emails from Paul Manafort,

17      Government's Exhibits 396 and 402, quote, Beyond the limited

18      purpose for which they were admitted.        But I believe that part

19      of that request seeks to preclude precisely the non-hearsay

20      purpose for which they were admitted and, therefore, it goes

21      too far.

22                   What the defense has asked me to do is -- it says,

23      The government should not be permitted to argue to the jury

24      that they are evidence that Mr. Manafort and the Ukranian

25      government were in fact pleased with Mr. Craig's media contacts
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 1      or the Skadden Report itself; that Mr. Manafort asked Mr. Craig

 2      to contact reporters as part of the media rollout of the

 3      report; that Mr. Craig corrected reporters because Mr. Manafort

 4      asked him to; or that he contacted reporters because he

 5      believed it would please Mr. Manafort or Ukraine.

 6                 And that's on page 3 of their motion.         So that's

 7      their request.

 8                 I don't believe there is any evidence, other than, I

 9      believe, a statement to Hawker by Manafort that he would speak

10      to Mr. Craig, or to Gates, that he would speak to Mr. Craig,

11      that he in fact spoke to Mr. Craig again after the Harvard Club

12      meeting and prevailed upon him in that conversation to stick

13      with the plan.

14                 If there is, and I don't recall it, I agree that the

15      two emails aren't it.      But, the two emails, just like the ones

16      from Gates and Hawker in the first wave of publicity after the

17      report, congratulating themselves on the seeding strategy, and

18      particularly the use of a well-regarded, straight-shooting

19      journalist and, it's important to note, a reputable journalist

20      who would be provided with access to Craig himself to explain

21      the report to the world for the first time, reflect that after

22      the release of the report Mr. Manafort thanked, praised and

23      congratulated the defendant.

24                 In other words, the fact that he said what he said

25      supports an inference or argument that he was pleased.          That's
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 1      not a hearsay use of a fact asserted, that's an inference drawn

 2      simply from the fact of what he said.        "The Ukranians are

 3      happy" was an assertion of fact about how they felt, and that

 4      was redacted out on hearsay grounds.

 5                 Also, whether its weak or strong, there's nothing

 6      wrong with the government asking the jury to draw an inference

 7      from the fact that the defendant didn't respond, What are you

 8      talking about?    Or, Don't thank me, I quit the team and I've

 9      been out there talking behind your client's back.

10                 The defendant is free to argue that what he did say,

11      "I like the Kyiv Post article," was actually a veiled way of

12      saying that.    But the emails can be fairly said to support the

13      notion that contrary to the defendant's testimony, that he'd

14      essentially abandoned his client and was acting on his own

15      behalf, that he was indeed carrying out the team's PR rollout

16      plan.

17                 The defendant's testimony advanced a black and white

18      view.   The report was either good for the Ukraine or bad.

19      Making sure that the reporters got it right was bad for the

20      Ukraine.   And having advanced that defense, the jurors now have

21      the opportunity to accept it or reject it.         And the government

22      is absolutely permitted to point to the evidence in the record

23      that contradicts it.

24                 The report is in evidence.       The defendant can argue

25      that it was not a vindication for the Ministry of Justice.        As
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 7 of 100      3273


 1      the defense has emphasized, several key conclusions agreed with

 2      Tymoshenko concerning significant violations of her due process

 3      rights.   But there's also evidence to support the argument that

 4      it was not a vindication for Tymoshenko either.          And the

 5      defendant's emails with Bruce Jackson reflect Jackson's and,

 6      arguably, the defendant's recognition of that.

 7                  The government can argue that there were, in fact,

 8      things in it that provided fodder for those acting in Ukraine's

 9      behalf, led by Mr. Manafort.

10                  A number of the conclusions rejected Tymoshenko's

11      objections to the trial on one basis or another, and there's

12      language that paints her in-court behavior in a negative light.

13      It is true that Skadden did not find, as Ukraine may have

14      hoped, that the prosecution was not politically motivated.         But

15      there is evidence from which one could conclude there was value

16      to the Ukraine in the fact that it didn't find that it was, and

17      that it said that she produced insufficient evidence of

18      selective prosecution, which is a legal concept related to the

19      motivation behind the charges.

20                  There is also evidence that Mr. Craig massaged that

21      language in particular, in response to comments that Skadden

22      received.   There is testimony in the record, not just from

23      Gates and Hawker, but also Kedem and the defendant, that there

24      was value to the Ukraine in the mere fact the report was

25      prepared at all.     And especially that it was prepared by a
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 1      reputable, independent law firm and a lawyer of Mr. Craig's

 2      background and reputation.      This was true even if it turned out

 3      that there was nothing good in it for Ukraine because their

 4      reputation was already bad and the Ukraine could say to the

 5      world, look, we gave this international law firm, we gave Greg

 6      Craig access to all the facts and independence and we are

 7      releasing what he said; we are learning from our mistakes.        We

 8      will do better in the future.

 9                 Yes, there was a chance for a prolonged period of

10      time that they might not publish it at all.         But as of

11      December, they decided that they would.         There's actually no

12      evidence in the record regarding the reason for the delays, and

13      whether it was the content of the report or timing of other

14      events that drove the decision.       I had seen some emails to that

15      effect, but I don't believe they actually ended up being

16      introduced.

17                 So the government can ask the jury to find that

18      Craig's willingness to make sure the journalists got it right

19      was an aspect of the Manafort strategy to make lemonade out of

20      the lemons in the report, and that the fact that he said what

21      he said in the email shows that he was pleased at the end of

22      the day.

23                 There is evidence that Mr. Craig agreed to do it at

24      the Harvard Club meeting.      Even his email the next day saying

25      he wouldn't because of a law firm policy, specifically says
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 9 of 100      3275


 1      that he had been happy to do it; same words that he used with

 2      Mr. Sanger.    The September 24th email doesn't say I told you

 3      all along I wasn't going to cross a FARA line.          It talks about

 4      a law firm policy about talking on background.          It could be a

 5      reversal, that's how Mr. Hawker took it.         It could be he just

 6      wanted to write it.

 7                  In any event, it's up to the jury to decide if he

 8      stuck with the reversal or whether by early October he was

 9      already advancing the plan by connecting Mr. Sanger and Vin

10      Weber.   And more important, whether that was what he was doing

11      in December when both Mr. Sanger and Tom Parfitt each got early

12      access to both the report and its author.

13                  So the motion in limine is granted in part and denied

14      in part.    The government may argue inferences from the tone and

15      mood of the Manafort emails and the fact that they were sent

16      consistent with my original ruling.        But no, they don't show or

17      prove that after the Harvard Club, Manafort in fact talked to

18      the defendant and twisted his arm.

19                  The defense has asked for a literal truth instruction

20      in Dockets 97 and 120.      The defense has been underscoring

21      throughout this case that this is a concealment scheme; the

22      government did not charge false statements.         I understand that

23      argument.   And while the indictment tracks the statutory

24      language that says falsify, conceal, and cover up, at the end

25      of the day, I agree.
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 1                   The charge is a single scheme to falsify, conceal or

 2      cover up a material fact.       The jury has to be unanimous that

 3      the government has proved the existence of such a scheme to

 4      cover up at least one material fact.         And, yes, as the

 5      defendant has emphasized since the beginning, the law requires

 6      that it be a fact that the defendant had a duty to disclose.

 7                   For example, the government may argue to the jury

 8      that it has proved the defendant's knowing and willful

 9      participation in a scheme to cover up the fact that he

10      participated in the media rollout of the report by, among other

11      things, giving David Sanger exclusive embargoed access to the

12      report on December 11th.

13                   I also agree with the defendant that the existence of

14      the duty to disclose is a question of law that I have to

15      determine.    But as the government pointed out, it is the jury

16      that must determine that the concealment of the particular fact

17      that they agree was concealed, was in fact a violation of the

18      duty that I instructed them exists as a matter of law.           So they

19      need to be instructed about that.

20                   I agree with the defendant, as I advised I would at

21      the end of the government's case, that as a matter of law, in

22      his dealings with the FARA unit, defendant did not at that time

23      have the duty to disclose or volunteer every fact that the

24      statute requires a registrant to disclose, or to offer up or

25      volunteer every fact that might have been relevant to the unit.
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 1      He is not charged with failure to register, and I have resisted

 2      the introduction of evidence or argument regarding his legal

 3      obligation at that time.       And while the motivation for the

 4      alleged scheme to conceal may have been a desire to keep the

 5      details that he would have had a duty to disclose if he had to

 6      register secret, such as who paid and how much, I don't think

 7      the conviction here can be predicated on the failure to

 8      disclose those facts.

 9                  The case is about the failure to disclose facts

10      material to the FARA unit's inquiry into whether he had engaged

11      in activities that would trigger a requirement to register;

12      facts that were specifically asked about in the questions he

13      undertook to answer and the facts that he knew were material to

14      the decision he was asking them to make when he took it upon

15      himself to ask them to reverse a decision that had been made.

16                  Thus, the statute underlies and informs these

17      conversations, and it bears on the materiality determination.

18      The law is clear that there's a duty to be truthful and not

19      mislead, either by an out and out misstatement or by

20      concealment when responding to specific questions about a

21      specific known regulatory or statutory regime and when

22      undertaking to influence an agency determination.

23                  For instance in United States versus Moore, 446 F.3d

24      671, in the Seventh Circuit in 2006, which was cited with

25      approval at many points in Safavian, the Court said, quote, The
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 1      evidence before the jury easily permitted it to conclude that

 2      Moore, who signed this contract to obtain HUD Block Grant

 3      funds, knew what the standards were and deliberately avoided

 4      disclosing the conflict to the city, even when she was directly

 5      asked about it.

 6                  Yes, she was bound by a contractual provision that

 7      laid out the conflict of interest rules.         Those were the rules

 8      underlying the conversation with the city.          The problem

 9      identified with the Court wasn't merely her signing the

10      contract and violating its terms.        It said, quote, Moore

11      continued to stonewall the city and, on occasion, to lie, long

12      after she signed the contracts.        Even if she had the right to

13      remain silent, she did not have the right to affirmatively

14      mislead city officials or to lie, close quote.

15                  Quote, Once the city explicitly asked for the

16      information, the failure to respond honestly is something far

17      greater than a failure to volunteer information, close quote.

18                  The Moore court noted that its decision was

19      consistent with United States versus Calhoun, 87 F.3d 518,

20      Eleventh Circuit, 1996, also cited in Safavian.          That defendant

21      was charged with making false statements or concealment under

22      the old version of the 1001 statute when claiming reimbursable

23      costs under Medicare.      The defendant took the position that the

24      government had to negate any possibility that his assertion of

25      reimbursabiliy was reasonable, but the Court didn't buy that.
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 1                  The Court explained while it's perfectly okay to say

 2      straight out, I think those costs were reimbursable, it's

 3      reasonable, it said, at page 529, quote, One must do so openly

 4      and honestly, describing them accurately, while challenging the

 5      presumption and seeking reimbursement.         Nothing less is

 6      required if the Medicare reimbursement system is not to be

 7      turned into a cat-and-mouse game in which clever providers

 8      could, with impunity, practice fraud on the government.

 9                  The Court specifically found that Calhoun's omission

10      of a key fact, quote, Critical to the determination, close

11      quote, of whether his expenses were reimbursable, which was who

12      he paid the money to, was concealment in violation of §1001.

13      And his inaccurate description of the nature of the services he

14      paid for, what the Court described as, quote, Concealing the

15      true nature, close quote, of the costs he claimed were found to

16      be violations of 1001.

17                  Quote, Calhoun's arguments mix the crux of his

18      offense, the filing of reports intended and designed to deceive

19      and mislead, close quote.       And the decision-makers in that case

20      were the auditors who were making the determination of

21      reimbursement or not.

22                  So as in Calhoun, the alleged crime is not disputing

23      the applicability of a FARA provision or regulation or

24      statutory provision, it is crafting submissions designed to

25      deceive and mislead.      Yes, it's true that Calhoun did it on
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 1      forms he was required to submit, and Craig wasn't required to

 2      write a letter to the unit.       But that isn't the basis for the

 3      Calhoun decision.     The basis is the use of deception to affect

 4      a governmental decision, and that's what it is alleged that

 5      Craig undertook to do here.

 6                  As I signaled I would at the close of the

 7      government's case, my instructions limit the duty to disclose

 8      to those facts that were the subject of the specific inquiry

 9      the agency was conducting under the statute.

10                  And for all those reasons, I will instruct the jury,

11      consistent with Moore, Calhoun, and United States versus

12      Stewart, 433 F.3d 273, at 318, out of the Second Circuit in

13      2006, which was cited in United States versus White Eagle, 731

14      F.3d 1108 and 1117, where the Court said, the White Eagle Court

15      said, As other circuits have recognized, a conviction under

16      1001(a)(1) is proper where a statute or government regulation

17      requires the defendant to disclose specific information to a

18      particular person or entity.

19                  So, for example, when a defendant submits a report

20      that omits particular information that by law must appear in

21      the report, a conviction for concealment is proper.              The same

22      holds true when a defendant responds to specific questions on a

23      particular topic, citing Stewart.        The Court said, In these

24      situations the defendant's failure to disclose is akin to an

25      affirmative misrepresentation.        And that's the principle that's
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 1      applicable here.

 2                  I note that White Eagle came after Safavian and the

 3      Court seemed to feel no need to distinguish it.          The government

 4      can argue here that the defendant could have, as the Court

 5      suggested in Calhoun, laid out for the agency the facts he laid

 6      out for the jury and argue that those facts didn't give rise to

 7      a registration obligation, but that, instead, he based his

 8      submission on a misrepresentation, and that the fact he did so

 9      bears on his intent.

10                  The defendant can argue that the facts are all there,

11      see the footnote, I attached a link to the article.              If you

12      read the article, you'll see the date that I must have talked

13      to David Sanger.     So he can argue that he left clues from which

14      the agency could have divined what happened if it dug deeper

15      and didn't accept his word for it.        And the government can

16      argue that deliberately leaving a false impression and turning

17      it into a puzzle is an affirmative act of concealment.

18                  I believe that these instructions are not

19      inconsistent with United States versus Safavian.           Here the duty

20      to be truthful and complete in responding to the inquiry and

21      attempting to reverse the decision that had been made was

22      informed by, and structured by, the statute, and that is what

23      gave the defendant fair notice of what was material in

24      accordance with the constitutional guarantee of due process.

25      And that's what distinguishes this case from the interview that
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 1      troubled the Court in Safavian.        And the statute bears directly

 2      on the materiality of the information alleged to have been

 3      disclosed.

 4                   But, I agree that the statute alone did not impose an

 5      obligation on that date to volunteer pieces of information that

 6      weren't responsive or material to the questions and the

 7      specific inquiry at hand.

 8                   It is this analysis and, in particular, the

 9      defendant's insistence that this case is about the scheme to

10      conceal and not making false statements, that leads me to

11      conclude that the literal truth defense has no applicability

12      here, and that the jury should not be instructed that literal

13      truth of any particular statement could negate the existence of

14      the scheme.

15                   Indeed, both the defendant and the government agree

16      that a literal truth instruction is not appropriate in

17      connection with the concealment scheme.         The defendant said

18      that in his supplemental memorandum regarding literal truth,

19      Docket 97.    The government memorandum, Docket 101, says it.

20      And there is no case that stands for the proposition that the

21      instruction has any bearing on a scheme to conceal, not even

22      Safavian, because that case addressed the point only because

23      there were no admissions left after its ruling on duty, and all

24      that was left was a single false statement.

25                   And there is one case that specifically finds that
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 1      literal truth defense doesn't apply to a 1001(a)(1) scheme.

 2      That's United States versus Stephenson, 895 F.2d 867, Second

 3      Circuit, 990.     So that instruction is not in my instructions.

 4                  The defense requested a heightened specific-intent-

 5      like standard for willfulness as was utilized in United States

 6      versus Trie, T-R-I-E, 21 F.Supp.2d 7.         And that request will be

 7      denied based on my review of Cheek versus United States, 498

 8      U.S. 192, 1991.     United States versus Pomponio, 429 U.S. 10,

 9      1976, Ratzlaf versus United States, 510 U.S. 135.           Bryan versus

10      United States, 524 U.S. 184, and the cases the defendant cited

11      to me, Moore versus United States, 612 F.3d 698, from the D.C.

12      Circuit in 2010, and United States versus Burden, from the

13      Court of Appeals case number 17-3018, 2017 Westlaw 3917651.

14                  Moore involved the appeal of the sufficiency of the

15      evidence to uphold a §1001(a)(2) false statement conviction on

16      the grounds that the evidence was insufficient to establish

17      materially false -- they were materially false.          It stands for

18      the proposition that a statement is material if it has a

19      natural tendency to influence or is capable of influencing

20      either a discrete decision or any other function of the agency

21      to which it was addressed.       It's a very short opinion.      The

22      Court found the evidence was sufficient.

23                  But the defendant places great emphasis on the

24      concurring opinion.      Putting aside whether it's dicta, whether

25      it's binding, or whether it's germane, it doesn't demand more
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 1      than the government proposes.       Judge Kavanaugh was concerned

 2      about 1001 prosecutions in general and the mens rea

 3      requirements in particular, and he was concerned about the risk

 4      of injustice that, as Chief Justice Rehnquist had noted in a

 5      dissent that he wrote, that the statute, quote, Can be used to

 6      punish the most casual false statements as long as they turned

 7      out, unbeknownst to their maker, to be material to some federal

 8      agency function.

 9                  I don't think that's an issue here.        The government

10      is going to have to prove materiality and the defendant hasn't

11      conceded anything.      But I don't think anyone is making a

12      serious argument that it was unknown to the defendant that the

13      dates and times and nature of his media communications were

14      important to the decision maker.        Defendant's arguments relate

15      to the legal consequences of those activities.

16                  Judge Kavanaugh went on to say, Proper application of

17      statutory mens rea requirements and background mens rea

18      principles can mitigate the risk of abuse and unfair lack of

19      notice in prosecutions under §1001.        In §1001 cases, that means

20      proof that the defendant knew that making the false

21      statement -- making the false statement would be a crime.

22                  In Bryan, the Supreme Court summarized the rule quite

23      clearly:    In order to establish a willful violation of the

24      statute, the government must prove that the defendant acted

25      with knowledge that his conduct was unlawful.
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 1                  So, the concurring opinion doesn't go all the way to

 2      say that every case requires a Ratzlaf- or a Cheek-specific

 3      knowledge instruction, just a Bryan instruction.           And to the

 4      extent the D.C. Circuit has weighed in at all, it seems to also

 5      have the clear view that Ratzlaf and Cheek are limited to their

 6      particular statutory regime.

 7                  In the United States versus Burden case the Court

 8      found an instruction to be problematical, but not for a failure

 9      to find willfulness properly.       And the problem it did find

10      doesn't seem to have any bearing on this case.          Notably, the

11      Court in Burden specifically rejected the defendant's

12      suggestion that the willfulness instruction that he received in

13      an Arms Export Control Act case should have included a specific

14      knowledge requirement.      It said for purposes of the AECA, a

15      requirement of proof that defendants knew the proscribed

16      conduct was unlawful, adequately protects against the danger of

17      ensnaring individuals engaged in apparently innocent conduct.

18                  In other words, in a situation that is more highly

19      regulated and complicated than §1001, and even FARA combined

20      with §1001, the Court of Appeals was still perfectly satisfied

21      with the Bryan formulation.       I don't see any danger of

22      ensnaring individuals engaged in apparently innocent conduct

23      here.   The issue is whether the defendant accurately reported

24      what he did, not whether he fairly argued that what he did

25      didn't matter under the FARA statute.
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 1                  The Burden case went on to discuss Cheek and Ratzlaf

 2      and it said that the Supreme Court has required proof that

 3      defendants know which law he was breaking in only two contexts;

 4      criminal tax evasion and currency structuring, and it went

 5      through Cheek and Ratzlaf.       It notes that in Cheek, the Supreme

 6      Court had explained that Congress's inclusion of a willfulness

 7      requirement for felony tax evasion recognized the proliferation

 8      of statutes and regulations that make it difficult for the

 9      average citizen to know and comprehend the extent of the duties

10      and obligations imposed by the tax laws.         And the problem in

11      Ratzlaf was that the currency structuring statute was

12      particularly complex.

13                  In Bryan, which concerned unlicensed firearms

14      dealing, the Court concluded that requiring only knowledge that

15      the conduct was unlawful was fully consistent with Congress's

16      purpose in adding a willfulness requirement to the firearms

17      statute to protect law-abiding citizens who might inadvertently

18      violate the law.     The D.C. Circuit said in Burden, Bryan

19      distinguished the firearms law before it from the highly

20      technical statutes at issue in Cheek and Ratzlaf, which had

21      justified carving out an exception to the traditional rule that

22      ignorance of the law is no excuse and requiring that the

23      defendant have knowledge of the law; that is, the specific law

24      that he violated.

25                  So nothing about that discussion or that case signals
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 21 of 100    3287


 1      the D.C. Circuit's concern that Moore is needed in a 1001

 2      context, even if the duty to disclose arises out of a statutory

 3      regime.    Burden held that the jury instruction was correct

 4      insofar as it rejected the defendant's position that the

 5      willfulness requirement in the AECA is akin to those in Cheek

 6      and Ratzlaf.

 7                   Another Court in this District has found the federal

 8      elections statute, FECA, to be similar.         But again, that wasn't

 9      a pure 1001 case.     Trie was an aiding and abetting case, aiding

10      and abetting a false statement made by someone else to the

11      Federal Elections Commission.       And the Court concluded that the

12      overlay of the willfulness requirement of aiding and abetting

13      over the FECA required specific knowledge.

14                   It's notable, though, that the Eighth Circuit has

15      decided that the same statute is not so complicated to require

16      anything more than a Bryan instruction, and there's no law on

17      FARA one way or the other, and -- this is the most important

18      thing -- the defendant is not charged with a willful violation

19      of FARA.    He is charged with willfully making a false

20      statement.

21                   What cased the problem in Benton was quite unique to

22      Benton, and the defendant's memo doesn't really explain how it

23      could possibly be applicable here.

24                   The Court said, in Benton, that finding that a

25      heightened instruction is not necessary doesn't quite resolve
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 22 of 100         3288


 1      the issue because of the ambiguity in the meaning of conduct --

 2      knowing that your conduct was unlawful -- in the instruction.

 3      More is required where, as here -- that is, in the Burden

 4      case -- there is evidence of willfully unlawful conduct apart

 5      from the charged offenses creating a risk that the jury may

 6      consider any and all evidence of the defendant's guilty mind,

 7      whatever its object, as supporting willful commission of the

 8      charged offense.

 9                  I don't understand the applicability of that in this

10      instance at all, but I can assure the defendant that it will

11      not be a problem in this case because we can define the conduct

12      when we say, If you find -- you must find that he knew his

13      conduct was against the law to engage in a scheme to falsify,

14      conceal or cover up.

15                  Even the Cheek case in 2001 -- at page 201, said that

16      the Bishop and Pomponio precedents conclusively establish that

17      the standard for statutory willfulness requirement is the

18      voluntary, intentional violation of a known duty.           And, so,

19      that is what I'm going to say.

20                  So that's that with respect to the specific

21      willfulness instruction.

22                  We now have some questions about the unanimity issue.

23      There is, as the defendant has pointed out over and over again,

24      one charge, one scheme; scheme to conceal material facts.          So I

25      don't actually see the problem that you had in the Oliver North
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 23 of 100      3289


 1      case or the Mangieri case of a risk that the jury would not be

 2      unanimous as to which crime he committed; it's only being

 3      presented with one.

 4                  It is a scheme to conceal material facts, though, and

 5      both sides have agreed and asked for an instruction that tells

 6      the jury it must be unanimous as to at least one fact.           I am

 7      not entirely sure that's necessary, but it seems prudent, and

 8      so I will instruct the jury in this matter as both parties have

 9      asked me to do.

10                  But the defendant has also offered up specific

11      unanimity language for the affirmative act that took place

12      after October 3rd.      And they absolutely must be told that they

13      must be unanimous that affirmative act took place after October

14      3rd.   But I'm not sure whether it's necessary to say, And you

15      all must be in agreement as to what that act is, given the fact

16      that there's only one scheme here.

17                  So, I don't see that you run into the Mangieri

18      problem.    But I am happy to hear from the defendant, if you

19      believe that we need the specific unanimity language twice in

20      the jury instructions.

21                  MR. TAYLOR:    Should I come to the lectern?

22                  THE COURT:    Sure, it's easier to hear you that way.

23                  MR. TAYLOR:    First of all, I'm operating off last

24      night's draft of instructions, which I assume are the same as

25      the one you circulated this morning.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 24 of 100         3290


 1                  THE COURT:    Yes, in content.     And we will go through

 2      the elements of the offense instruction.         I jiggered around

 3      with the order of the instructions, and I've pasted now that

 4      one into the others.      But right now I'm just talking about that

 5      part of it where I tell them that the timing is important, and

 6      they must unanimously agree that an act occurred after October

 7      3rd.   You had proposed that I also say there, And you must be

 8      unanimous as to which one, and you cited Mangieri and that line

 9      of cases.

10                  MR. TAYLOR:    Yes.   Yes.

11                  THE COURT:    And you and the government both put that

12      in with respect to a material fact that he had the intent to

13      conceal by scheme.

14                  MR. TAYLOR:    Yes.

15                  THE COURT:    And so, my question is just specifically

16      whether it's necessary as to the affirmative act?

17                  MR. TAYLOR:    It is.   Proof must be that he committed

18      an offense after October 3rd.       And that means the concealment

19      of a material fact by trick, scheme, or device.          And,

20      therefore, the same obligation to be unanimous on the fact --

21      on the material fact omitted would apply post-October, as it

22      would have if the statute didn't bar pre-October.

23                  THE COURT:    The fact --

24                  MR. TAYLOR:    The material fact concealed.          They must

25      be unanimous that he -- as the instruction says --
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 25 of 100      3291


 1                  THE COURT:    I thought you were saying they had to be

 2      unanimous as to what the affirmative act was.

 3                  MR. TAYLOR:    No.

 4                  THE COURT:    So you're talking about the fact?

 5                  MR. TAYLOR:    The instruction as drafted and as you

 6      sent it to us last night is that the defendant -- the

 7      government must prove that on at least one occasion after

 8      October -- this is on the nature of the offense.

 9                  THE COURT:    Um-hum, I got it.

10                  MR. TAYLOR:    That on at least one occasion after

11      October 3rd he concealed or covered up a fact that he had a

12      legal duty to disclose.      That's -- we agree.

13                  THE COURT:    Okay.

14                  MR. TAYLOR:    When you come back on the next page

15      to -- this brings me back to the first element I just -- brings

16      me back to the first element I discussed.

17                  THE COURT:    It's on the top of page 15 of your

18      current draft.

19                  MR. TAYLOR:    You must unanimously agree that he

20      engaged in at least one affirmative act.         We disagree with

21      that.   I think that's inconsistent with what you just told

22      them, and that the proper instruction would be:          You must be

23      unanimous as to the material fact concealed after October 3rd

24      of 2013.

25                  THE COURT:    All right.    I think you actually had
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 26 of 100        3292


 1      language in your proposed instruction about the act.             But now

 2      you're saying it's about the fact, and I understand that.

 3                  What's the government's position about that?

 4                  MS. GASTON:    The government agrees, so that should

 5      make it easy.

 6                  THE COURT:    Okay.   All right.    I will make a change

 7      consistent with that.

 8                  Finally, I agree, and the instructions will

 9      incorporate the defendant's argument that the scheme allegation

10      requires more than simple proof that a false statement was

11      made; the government must prove affirmative acts of

12      concealment.     But even though it is a concealment scheme,

13      affirmative acts of concealment could include affirmative

14      misrepresentations, false or misleading statements or omissions

15      that advance the scheme, and the jury must be unanimous --

16      wait, never mind.

17                  That advance that scheme.       Going to the meeting could

18      be an affirmative act.      No, we don't have the questions and

19      answers, so we don't know if any particular answer was false or

20      misleading or incompletely answered, but the defendant has

21      testified that what he said was correctly characterized in the

22      government 's letter reversing its decision and reciting what

23      he told them.

24                  So, there is evidence in the record that the jury can

25      consider with respect to the points he emphasized, the
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 27 of 100     3293


 1      conclusion he emphasized -- and the conclusion he conveyed, if

 2      not his exact words at the meeting.        Writing his follow-up

 3      letter and/or crafting allegedly misleading sentences in it

 4      could also be an affirmative act.        And all this is embodied in

 5      the instructions.

 6                  The Safavian footnote that a scheme can't be based on

 7      a false statement alone does not mean that acts of

 8      falsification, false or misleading statements can't be

 9      affirmative acts in furtherance of the scheme, or a misleading

10      statement rendered false by an omission can't be an affirmative

11      act.   Defendant points to Safavian and United States versus St.

12      Michael's Credit Union, 880 F.2d 579, to argue that

13      misrepresentation can't be a scheme.

14                  And I have to tell you, it was a tough weekend

15      because many of these precedents are contradictory and say an

16      omission can't be a scheme, a false statement can't be a

17      scheme, leaving one to scratch one's head as what is left.

18      But, I believe that when you read the instructions carefully,

19      it starts to become clear.       There are several cases, even in

20      the wake of St. Michael's, that support the notion that a false

21      statement can be an affirmative act.

22                  In United States versus Mubayyid, M-U-B-A-Y-Y-I-D,

23      658 F.3d 35, at pages 70-71, the Court, the First Circuit,

24      found that filling out a form he was required to fill out

25      falsely qualified.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 28 of 100   3294


 1                  The Court recognized that simple omissions, according

 2      to St. Michael's Credit Union, fall short of constituting

 3      affirmative acts of concealment, which are key to prove a

 4      scheme, trick, or device under 1001(a)(1).

 5                  But, the Court also said Mubayyid fails to

 6      acknowledge that one has a legal duty to disclose information

 7      when a response is required by statute, government regulation,

 8      or government form.      Moreover, they said, by filing the false

 9      form, which he signed under penalty of perjury, Mubayyid did

10      not passively fail to disclose material facts, he engaged in an

11      affirmative act of concealment.        And they distinguish that from

12      St. Michael's.     And they say his conduct is, therefore,

13      sufficient grounds for a conviction under 1001(a)(1).

14                  United States versus Henderson, 318 F.Supp.3d 1221,

15      at 1234, from the Eastern District of Washington in 2018, also

16      emphasizes that a simple omission cannot be a scheme, but

17      citing Mubayyid and White Eagle specifically contrasts that to

18      a situation involving an omission in a situation where

19      defendant had a duty to disclose.        Also, Hubbell included false

20      statements made to an investigating agent among the affirmative

21      acts deemed to be sufficient to state a scheme offense.

22                  So, all of that, I think, is captured in the

23      instructions that it can't just be a mere omission, it has to

24      be an omission that rendered something deceptive, and it's in

25      there.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 29 of 100          3295


 1                  That's the end of my lecture and summary.            I think

 2      what I would like to do -- and I can certainly say that the

 3      defendant's objections to not giving the specific innocent

 4      instruction on willfulness is noted and on the record.

 5                  With respect to literal truth, the defense told me

 6      that the literal truth instruction would not be required if

 7      it's just a concealment scheme.        So I'm not sure that you

 8      object to my not giving it anymore.        But your request to give

 9      it has been denied and that's noted for the record.

10                  I think if we want to be expeditious about this, that

11      maybe what we should do first is go through the rest of the

12      instructions and figure out which -- the ones that are

13      questionable, about whether they're in or out, whether they're

14      in or out, and then we'll focus on the elements of the offense

15      instruction.

16                  Function of the Court; Furnishing the Jury With a

17      Copy of the Instructions; Function of the Jury; Jury

18      Recollection Controls; Note-Taking by Jurors; Evidence in the

19      Case, I believe are all Red Book instructions.

20                  The bottom of page 2, the Evidence in the Case

21      instruction talks about stipulations.         Obviously we can take

22      the word "depositions" out of the title.         We can just call it

23      Evidence in the Case.

24                  But, did I take judicial notice of any facts?           I

25      don't believe I did, although I might have in connection with
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 30 of 100         3296


 1      Gates and his pending case, I'm not entirely certain.            No?

 2                  MR. CAMPOAMOR-SANCHEZ:      I don't believe so as to Mr.

 3      Gates.   I do recall, at the end of the case, that I -- because

 4      we weren't sure about the defense position, that I asked the

 5      Court to take judicial notice of the statute, but that was

 6      really for purposes, I think, of the Rule 29 arguments that we

 7      were having.

 8                  THE COURT:    Okay.   The statute is going to be

 9      described as a legal thing and not something that they're going

10      to take judicial notice of.       So I took note of it, I'm not

11      going to ask them to take note of it.         So that bracketed

12      portion will come out on the bottom of page 2.

13                  Page 3, Statements of Counsel, Indictment not

14      Evidence, we don't need to say "or Information."

15                  Inadmissible and Stricken Evidence, I think that

16      happened once or twice.      So, I think we need to say that.          I

17      don't know, at the top of page 4, if I ordered an exhibit

18      stricken?    Only a question and answer, I believe.

19                  MR. CAMPOAMOR-SANCHEZ:      I don't believe any exhibits

20      were stricken.

21                  THE COURT:    Okay.   So I'm going to not give the

22      bracketed portion at the top of page 4.

23                  Redacted Documents -- not tapes -- but there were

24      documents that have redactions, so I think that's important.

25                  Burden of Proof and Presumption of Innocence,
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 31 of 100          3297


 1      Reasonable Doubt.     Are there any objections to those?

 2                  MR. TAYLOR:    No.

 3                  MR. CAMPOAMOR-SANCHEZ:      (Shakes head.)

 4                  THE COURT:    I believe they're largely Red Book.

 5      There may have been a little tweak here and there in response

 6      to someone's request, but I think they're standard.

 7                  Direct and Circumstantial Evidence, Credibility of

 8      Witnesses come from the Red Book.

 9                  Witness With a Plea Agreement is on page 8.          Both

10      sides gave me some different suggestions about what to say,

11      this incorporates the two.        I also took the separate

12      instruction about a person awaiting sentence and made that the

13      last paragraph of this instruction.        I don't know that it's

14      separately needed, but I've added it anyway, so there can't be

15      any concern that I left that issue out.

16                  MR. TAYLOR:    Your Honor, do you want me to come --

17                  THE COURT:    Yes, if you have something about one as

18      I'm going through, tell me.

19                  MR. TAYLOR:    Yes.    Witness With a Plea Agreement, the

20      last sentence, the last clause we ask that you not give; that

21      you delete the clause beginning with, "The plea agreement does

22      not protect him."

23                  THE COURT:    All right.    Is there any particular

24      reason we need it?      I mean, the plea agreement -- there's

25      evidence that the plea agreement could be revoked if he lies
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 32 of 100     3298


 1      under oath, and we talked about that.         But, I think this is in

 2      the standard jury instruction.

 3                  MS. GASTON:    It is, and that's why we would request

 4      it, Your Honor.

 5                  MR. TAYLOR:    That -- I'm sure that our focus on it

 6      will give us some enlightenment, even if it's in the standard

 7      instruction.     We do not think the Court should instruct the

 8      jury that the plea agreement doesn't protect him against the

 9      prosecution for perjury.

10                  THE COURT:    Use the microphone.

11                  MR. TAYLOR:    We do not believe the Court should give

12      the phrase or clause:      The plea agreement does not protect him

13      against a prosecution for perjury or false statements, should

14      he lie under oath.

15                  THE COURT:    Well, what if I say:      A witness who has

16      entered into a plea agreement is under this same obligation to

17      tell the truth under penalty of perjury as any other

18      statement -- as any other witness.

19                  MR. TAYLOR:    Yes.

20                  THE COURT:    Everyone had to say that.

21                  MS. GASTON:    Your Honor, we would request the Red

22      Book instruction as it's stated.

23                  THE COURT:    I'm willing to make that change, but

24      mention perjury with respect to all witnesses.

25                  All right.    The defendant, I take it, wants me to
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 33 of 100     3299


 1      give the Defendant as a Witness instruction.

 2                   MR. TAYLOR:   You skipped over the Witness With a Plea

 3      Agreement.

 4                   THE COURT:    I thought we just talked about that and I

 5      changed the sentence at your request.

 6                   MR. TAYLOR:   Oh, sorry.

 7                   THE COURT:    All right.

 8                   MR. TAYLOR:   Well, at the end of that we also wanted

 9      you to strike:     You all so heard evidence that Mr. Gates is

10      awaiting -- that last paragraph.

11                   THE COURT:    You had proposed A Witness Awaiting

12      Sentence instruction.      I think it's redundant, but since you

13      had proposed both, I put them both in.         You want me to take it

14      out?

15                   MR. TAYLOR:   Yes.

16                   THE COURT:    All right.   Any objection?

17                   MR. TAYLOR:   In both sentences.

18                   THE COURT:    So the final paragraph:     "You have also

19      heard evidence that," essentially reiterates what I've said

20      above, and it will be taken out.

21                   MS. GASTON:   (Nods head.)

22                   MR. TAYLOR:   Thank you.

23                   THE COURT:    Defendant as a Witness will be given.

24                   MR. TAYLOR:   We request you take out the second

25      sentence.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 34 of 100       3300


 1                   MS. GASTON:   Your Honor, this is the Red Book

 2      instruction.

 3                   THE COURT:    I'll say, "Believed or."

 4                   The Character Evidence instruction I believe is

 5      appropriate.

 6                   MR. TAYLOR:   Your Honor, I'm sorry.      What's your

 7      ruling on --

 8                   THE COURT:    I'm going to say, "His testimony should

 9      be believed or disbelieved merely because he is a defendant."

10                   MR. TAYLOR:   On the character, we do have some

11      disagreements with the way the Court has phrased it.

12                   Mr. Craig introduced testimony from witnesses that

13      those witnesses have a high opinion of his character, and that

14      he has --

15                   THE COURT:    Yeah, I think this is what you all

16      submitted before we knew that only opinion evidence was going

17      to come in.

18                   MR. TAYLOR:   I'm not sure why -- why it is --

19      whatever it is that we said, but, this seems to me, needs to be

20      corrected.    And I would suggest the following language:        Mr. --

21                   THE COURT:    Go ahead.

22                   MR. TAYLOR:   Mr. Craig has introduced testimony from

23      witnesses that he has good character for honesty and

24      truthfulness and that he has such a reputation in the

25      community.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 35 of 100           3301


 1                   THE COURT:    All right.   I'm not sure that's

 2      particularly different from the first sentence, but --

 3                   MS. GASTON:   It's not.    And, Your Honor, this is the

 4      Red Book instruction that we agreed to in what we submitted to

 5      the Court.

 6                   THE COURT:    Well, I mean, the sentence suggests that

 7      he has a good reputation in the witnesses' opinion.              And I

 8      think what the witnesses said is he is truthful and honest and

 9      law abiding, in my opinion, and that he has a good reputation

10      in the community.     I think that's what they were trying to get

11      at and stress.

12                   MR. TAYLOR:   That's my point.

13                   THE COURT:    I believe that's accurate.      They didn't

14      offer their opinion on his reputation, they offered their

15      opinion on his character.       So, I think the reformulation is

16      accurate.

17                   So read me your version again.

18                   MR. TAYLOR:   Instead of the first sentence as it now

19      reads, it would read:      Mr. Craig has introduced testimony from

20      witnesses that he has a good character for honesty and

21      truthfulness and that he has such a reputation in the

22      community.

23                   MS. GASTON:   Your Honor, may I suggest that we go

24      back to the Red Book instruction, which would provide that this

25      would say --
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 36 of 100     3302


 1                  MR. TAYLOR:    I'm sorry.    I'm having a little trouble

 2      hearing Miss Gaston.

 3                  MS. GASTON:    May I suggest -- does that help.

 4                  MR. TAYLOR:    I think so.

 5                  MS. GASTON:    May I suggest that we go back to the Red

 6      Book instruction, which would provide that -- it would say:

 7      Mr. Craig has introduced testimony that he has a good

 8      reputation in the community for -- character trait -- and in

 9      the witness's opinion, Mr. Craig is a -- character trait --

10      person.

11                  THE COURT:    I think that's what it is, that there was

12      testimony from witnesses that he is truthful and honest and, I

13      think, law abiding, and that he has a reputation in the

14      community for truthfulness and honesty.

15                  MR. TAYLOR:    That's correct.

16                  THE COURT:    All right.    So that's what I'll say:

17      Gregory Craig has introduced testimony from witnesses that in

18      their opinion he is truthful, honest, and law abiding, and that

19      he has a good reputation in the community for truthfulness and

20      honesty.

21                  MS. GASTON:    And, Your Honor, since some witnesses

22      testified about reputation in the community, and the testimony

23      of one of them was struck, we would ask that it be qualified to

24      say "some witnesses."

25                  THE COURT:    All right.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 37 of 100      3303


 1                  MR. TAYLOR:    We can grudgingly accommodate that, Your

 2      Honor.

 3                  THE COURT:    All right.    I'll say he introduced

 4      testimony from witnesses that in their opinion he is truthful,

 5      honest, and law abiding and there was evidence from some

 6      witnesses that he has a good reputation in the community for

 7      truthfulness and honesty.

 8                  All right.

 9                  MR. TAYLOR:    On the next page, Your Honor.

10                  THE COURT:    Yes.

11                  MR. TAYLOR:    Top paragraph, the third line, it says,

12      "him or her."

13                  THE COURT:    Right.   We don't need that.      Thank you.

14      We tried to catch a lot of those.

15                  MR. TAYLOR:    And we do not think the next two

16      instructions should be given.

17                  THE COURT:    I didn't think that we really went into

18      prior bad acts with any character witness, so I don't think

19      that one is necessary.

20                  MS. GASTON:    We would agree.

21                  THE COURT:    That's why I put it in brackets.

22                  Prior inconsistent statement.       There wasn't a lot of

23      that.    I'm not sure -- does anybody think -- does the

24      government think we need the Prior Inconsistent Statement

25      instruction?
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 38 of 100        3304


 1                   MS. GASTON:   No, Your Honor.

 2                   THE COURT:    Okay.   Then that means that the Prior

 3      Consistent Statement instruction is not needed either.

 4                   Statements of the Defendant I think does not relate

 5      to this case; that's when you get arrested and say something

 6      about the offense.

 7                   MR. TAYLOR:   That's right.

 8                   THE COURT:    But since someone had listed it, I just

 9      wanted to put it in, and so I'll take it out.          I think that

10      might have applied to the interview, but we didn't really get

11      into that.

12                   MR. TAYLOR:   So the two instructions on page 11 we

13      request not be given.      I think I just heard you say that you

14      agree.

15                   THE COURT:    Yes.    The one on page 10, Cross-

16      Examination of a character witness.

17                   MR. TAYLOR:   Right.

18                   THE COURT:    Evaluation of a Prior Inconsistent

19      Statement of a Witness.      Moving to 11, Evaluation of a Prior

20      Consistent Statement and Statement of the Defendant on 11 are

21      all omitted.

22                   On or About, we will read.

23                   MR. TAYLOR:   Except that the date is wrong.

24                   THE COURT:    Okay.

25                   MS. GASTON:   The scheme is alleged to begin on June
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 39 of 100    3305


 1      3rd, 2012 -- or, June 3rd, 2013.

 2                  THE COURT:    June 3rd, 2013.     Through January -- what

 3      date is it?    14?

 4                  MR. TAYLOR:    16.    January 16.

 5                  THE COURT:    Okay.   Thank you.    I don't quite know how

 6      that happened.

 7                  All right.    Let's skip over for a minute pages 11,

 8      12, 13, 14, 15, 16 and go to the rest of the standard

 9      instructions.

10                  Proof of State of Mind.      The defendant asked me to

11      omit the part about intending the natural and probable

12      consequence of what you did.       But I think that's part of the

13      standard instruction and I'm going to include it.

14                  MR. TAYLOR:    May I be heard?

15                  THE COURT:    Yes.

16                  MR. TAYLOR:    That might be standard in a general

17      intent crime.     This is a specific intent crime and it does

18      not -- it shouldn't be given here.        It's really not relevant to

19      an issue in the case.      It's not -- no one is claiming there's a

20      mistake or an accident.      So the -- it simply doesn't address

21      any issue in the case as a matter of fact, and as a legal

22      matter it doesn't belong here because this is not a crime where

23      the question is did he -- did he intend to do something?         We

24      haven't made a claim about that.

25                  THE COURT:    Well, I think he has to have
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 1      intentionally, willfully, knowingly engaged in a scheme to

 2      conceal.    And, so, I think this language is appropriate.

 3                   What is your position about the possible punishment

 4      instruction?     Bottom of page 17.

 5                   MR. TAYLOR:   Page 17.

 6                   THE COURT:    Is the government requesting it?

 7                   MS. GASTON:   Yes, Your Honor.

 8                   MR. TAYLOR:   I don't think we object.

 9                   THE COURT:    All right.

10                   Unanimity, the verdict form --

11                   MR. TAYLOR:   I'm sorry, Your Honor.      I have not seen

12      the verdict form that you --

13                   THE COURT:    Well, we need to talk about it.

14                   MR. TAYLOR:   Okay.

15                   THE COURT:    Because I realized this morning that all

16      of them were based on previous iterations of what was

17      happening.    So I figure we'll talk through the instruction and

18      then I'll read you what I think it should say.

19                   But this is an instruction that just says you're

20      getting one and it's not evidence.        That they're getting the

21      exhibits.    Selection of a foreperson.       Another cautionary

22      instruction about publicity, which I think is important.

23      Communications Between the Court and Jury During the Jury

24      Deliberations.     The Attitude and Conduct of Jurors in

25      Deliberation is -- it's in the Red Book, I'm happy to give it,
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 1      I kind of feel like it tells them how to go about their

 2      business in a way that maybe is a little condescending, so I

 3      don't know whether we have to give it or not.          I don't know if

 4      people have a strong point of view about it.

 5                  MR. TAYLOR:    We request that you not give it.

 6                  THE COURT:    All right.    And then we have to excuse

 7      alternate jurors at the end of the --

 8                  MR. TAYLOR:    We understand.

 9                  THE COURT:    Have to give that instruction.

10                  With respect to that instruction, before we get to

11      the substantive instruction, can I see counsel at the bench?

12                  (Bench discussion:)

13                  THE COURT:    I appreciate the fact that the government

14      shared with the defense and with me the communication that came

15      from the Office of the Government Ethics of an agency at which

16      Juror 7 is employed.      And we don't know the substance of her

17      concern.    And we understand that the person to whom she was

18      going to speak was not going to speak about the case.

19                  I am concerned that given the fact that she didn't go

20      to the inter-bar, but she went to Government Ethics --

21                  MR. CAMPOAMOR-SANCHEZ:      General Counsel's office.

22                  THE COURT:    General Counsel's, okay.      That the

23      concern isn't actually in scheduling, and that she may continue

24      to harbor the concern that she voiced in jury selection that

25      she knows too much and that it's hard to separate in her mind
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 42 of 100      3308


 1      what she knows from the trial and what she doesn't know from

 2      the trial -- this is speculation on my part.          But it gives rise

 3      to a concern.     No one asked me to strike her for cause, so she

 4      was not; That wasn't my place to interpose my thinking about it

 5      on whatever strategy anyone had in thinking that she should say

 6      in the venire.

 7                  I guess the question is, since we don't know what

 8      sent her off to her general counsel, do we want to substitute

 9      her for an alternate and make 7 and 14 the new alternates,

10      instead of 13 and 14 the alternates?         And this is really a

11      question I'm not suggesting that I have the answers to what you

12      should do, but I thought we should think about that.

13                  MR. TAYLOR:    Let us think about it.

14                  THE COURT:    All right.    Okay.

15                  MR. TAYLOR:    I don't think that the record, as it

16      exists right now, gives us much information to make a decision

17      about any of that.

18                  THE COURT:    No.   And we have what she said initially,

19      which was troubling to me, and it's been troubling to me

20      throughout the entire trial, but she was seated with the

21      concurrence with both parties.        So, I'm just putting this out

22      there for you to think about and you can let me know if you're

23      in accord about to do something, then we'll do something.           And

24      if you're not, then I don't think we should do anything.

25                  MS. JUNGHANS:    Are you considering inquiring of her
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 43 of 100       3309


 1      in any way?    And I'm not sure I think that's a good idea, but

 2      I'm just floating it.

 3                  THE COURT:    Since we really don't know what happened

 4      and we don't even know if the communication has even taken

 5      place -- you haven't heard anything further?

 6                  MR. CAMPOAMOR-SANCHEZ:      No, we have not heard

 7      anything back.

 8                  THE COURT:    So it just was kind of a little bit of a

 9      flag that was raised.      I don't know what it means, I don't

10      pretend to know what it means.        But, I thought there's a

11      solution, if we are anticipating a problem, that is easier

12      solved now than once the jury starts to deliberate.

13                  MR. TAYLOR:    I just don't know if it's broke, so I

14      don't know whether we should try to fix it.

15                  THE COURT:    Okay.   That's totally fine.      I just

16      wanted to -- I haven't had a lot of time to think over the

17      weekend.

18                  MR. CAMPOAMOR-SANCHEZ:      So you know, we did not want

19      to call back and try to find out whether anything took place or

20      what happened or concerns, that that would be seen as we were,

21      obviously, interfering with a jury.

22                  THE COURT:    I think everybody has acted completely

23      appropriate in this situation.

24                  MR. CAMPOAMOR-SANCHEZ:      But, I think -- it certainly

25      raised concerns to us when we learned, which is why we
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 44 of 100     3310


 1      immediately shared it.

 2                  THE COURT:    Right.   And I think it's up to her if she

 3      feels she can't do her duty as a juror to tell Mr. Haley she

 4      wants to talk to me, and she has not done that.          So, we have

 5      that.

 6                  MR. TAYLOR:    I think we're -- let's wait and see.

 7      We'll talk to our client among ourselves, but my instinct is

 8      not to do anything unless there is more in the record than

 9      there is right now.

10                  THE COURT:    Okay.    And you can let me know that

11      later, after the next break.       Let's talk about the remaining

12      jury instructions and then we'll break and hopefully we really

13      will be able to start argument at one and possibly get

14      instructions completed today, so they have a full day tomorrow.

15                  MR. TAYLOR:    We would like to do that.

16                  THE COURT:    All right.    That's my goal.

17                  (Open court:)

18                  THE COURT:    All right.    So on page 12, I would just

19      call this instruction the Elements of the Offense, not "and

20      FARA."   I changed it from Count 1 to the indictment charges.

21                  The elements, everyone was largely consistent about.

22      But, I had a question, since I'm going to say that he was not

23      sitting there under a duty to disclose what's required to be

24      disclosed under the FARA statute, that we don't need the

25      bracketed language in 2.       I will give much more explanation
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 45 of 100      3311


 1      below about what the legal duty was to disclose or not.

 2                  So I would propose to omit the bracketed portion of

 3      number 2 at the top of page 13.

 4                  MR. TAYLOR:    We request that you not delete it.

 5                  THE COURT:    Not delete it?

 6                  MR. TAYLOR:    Yes.

 7                  THE COURT:    Well, I'm then going to say:       With

 8      respect to the second element, the concealment of something the

 9      defendant had a duty to disclose, there is a legal duty to

10      disclose where a statute, government regulation, or form

11      requires someone to disclose specific information, but that is

12      not the duty at issue in this case.        A person also has the duty

13      to disclose that arises, etcetera.

14                  Now, I can leave the bracketed portion out and they

15      can still argue that he has a duty to disclose from the second

16      portion.    But, I'm not sure why we don't want to make it

17      consistent with what I'm telling people they can argue and they

18      can't argue and what he can be convicted of and what he can't.

19      I don't want them to be confused that he had a duty to say

20      something that's in the FARA form after I assured you that I

21      don't think omitting things just because they're in the form is

22      actionable here.

23                  MR. TAYLOR:    So, I'm not quite sure I understand

24      where we are here.

25                  Your numbered paragraph 2, which includes the
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 46 of 100    3312


 1      bracketed language, you are proposing or telling -- advising us

 2      that you do not intend to give that language, the bracketed

 3      language?

 4                  THE COURT:    I was suggesting --

 5                  MR. TAYLOR:    Suggesting that.

 6                  THE COURT:    -- that I don't need to or shouldn't,

 7      given the way the case has now been narrowed.

 8                  MR. TAYLOR:    So if that's the case, I did not -- did

 9      not want to be in the position of telling the jury that's not

10      the duty at issue in this case.        I mean, so it seems to me --

11      of course, Your Honor, you understand that we object to any --

12      any instruction on duty for reasons we've discussed at length

13      in this case.

14                  But as to what more specifically you're going to tell

15      them, it strikes me that if you --

16                  THE COURT:    I don't think I need --

17                  MR. TAYLOR:    If you struck the bracketed language and

18      then you struck the language in the first full paragraph --

19                  THE COURT:    The brackets?

20                  MR. TAYLOR:    No, that you would strike the language

21      beginning, "There is a legal duty to disclose where a statute,

22      government regulation, or form requires someone to disclose,

23      and then the bracket.      And then --

24                  THE COURT:    You mean, I would just say, for number 2:

25      The defendant concealed or covered up the fact that he had a
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 47 of 100     3313


 1      legal duty to disclose, and then you get down to the paragraph

 2      and I say:    With respect to the second element, the concealment

 3      of something the defendant had a duty to disclose, there is a

 4      legal duty -- a person has a duty to disclose that arises if

 5      and when he responds to specific questions posed by the

 6      government about a particular topic that is the subject of a

 7      statute, regulation, or government form, and leave out the

 8      other part?    That's your suggestion?

 9                   MS. GASTON:   That's the government's position.

10                   THE COURT:    That's the government's position.

11                   Do you agree?

12                   MR. TAYLOR:   I think so.

13                   THE COURT:    I think that's what you just asked me to

14      do.   I just want to make sure I got it right.

15                   MR. TAYLOR:   I think so.

16                   THE COURT:    Just hearing that Miss Gaston wants me to

17      do it, too, does that trouble you?

18                   MR. TAYLOR:   She and I have had one agreement this

19      morning already.

20                   THE COURT:    I think that's fair.     If people thought I

21      had to lay out the other duty, then I felt that it was

22      important to explain to the jury that -- but, I think you're

23      right, I don't need to tell them about a principle of law that

24      doesn't apply.

25                   MR. TAYLOR:   Right.
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 48 of 100        3314


 1                  May I consult for just a moment with better minds?

 2                  THE COURT:    Yes.

 3                  (Pause.)

 4                  MR. TAYLOR:    I think we're down to the grammar.

 5                  THE COURT:    Okay.

 6                  MR. TAYLOR:    We'd request, without waiving any other

 7      objections, that as to the full paragraph, it would read:            With

 8      respect to the second element, the concealment of something the

 9      defendant had a duty to disclose -- strike the next three --

10      two and a half lines, and it would then follow with:             A person

11      also has a -- strike the word "also."

12                  THE COURT:    Correct.

13                  MR. TAYLOR:    Strike the word "also."

14                  THE COURT:    Right.

15                  MR. TAYLOR:    A person has a duty.

16                  THE COURT:    I think we can take out "that arises."

17      It could just say:      A person has a duty to disclose if and when

18      he responds to specific questions posed by the government.            I

19      think that "arises," is not necessarily, just makes it fancy.

20                  MR. TAYLOR:    I think that's okay.      Subject to the

21      other objections.

22                  THE COURT:    All right.

23                  All right.    What about the rest of page 13?

24                  MR. TAYLOR:    We request you strike, in numbered

25      paragraph 4, the word "falsified."
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 49 of 100       3315


 1                  THE COURT:    I think that's correct.      I am -- I

 2      believe that there are falsifications and false statements and

 3      misrepresentations that are acts in furtherance of the

 4      concealment scheme, but that that comes out.

 5                  MS. GASTON:    And, Your Honor, we just want to put on

 6      the record to the striking of falsification and of the false

 7      statements component of the scheme as the government has argued

 8      in its papers.

 9                  THE COURT:    I understand that.

10                  I think the more I looked at cases that involved

11      falsification by scheme, they really were like filling out a

12      form falsely, backdating -- you know, checks that were fake,

13      and not so much as making false statements.          Making false

14      statements were seen as acts of concealment or acts as a

15      falsification, concealment, or cover-up scheme.          And if you get

16      into a falsification, concealment, or cover-up scheme, then you

17      run into a lot of complexity with literal truth, which doesn't

18      seem to apply to a concealment scheme.         And I think this is

19      more true to what the case is about, that he didn't want to --

20      did not endeavor by scheme to conceal facts related to the

21      media activities and he had a duty to answer the questions

22      about those and he either concealed them by omitting facts,

23      crafting them in a way that's misleading, etcetera.

24                  So I will take that out in number 4.

25                  Anything else on page 13?
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 50 of 100     3316


 1                  MR. TAYLOR:    No.    The next language I wanted to

 2      discuss is on page 14.

 3                  THE COURT:    Okay.

 4                  MR. TAYLOR:    The paragraph beginning, "But if a

 5      person chooses to respond."

 6                  THE COURT:    Yes.    That one has a lot of brackets in

 7      it.

 8                  MR. TAYLOR:    We obviously object to that, pursuant to

 9      our earlier objections based on Safavian.         But we would like,

10      more specifically, you to delete the bracketed language in the

11      last sentence.

12                  THE COURT:    All right.    Well, we've got several

13      brackets going here.      There was a point in the day when I

14      decided you had to have it.       And so the first bracket, it says:

15      If a person chooses to respond to specific questions about a

16      particular topic that is the subject of a statute, regulation,

17      or government form, I don't know that that needs to be in

18      there.   That is part of my legal ruling for why there is a

19      duty.    I don't think that the jury needs to have that in there.

20                  Does everybody agree with that?        Ezra is shaking his

21      head yes.    Does that count as a yes from the defendant?

22                  MR. TAYLOR:    Well, you know why we don't like this

23      language.    But, having said that -- so, I'm not sure that we

24      are in a position to be constructive about this paragraph.

25      We've asked that you not give it and we -- to the extent that
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 51 of 100           3317


 1      you want our opinion on whether it would be better or worse if

 2      you removed the bracketed language in the first one or two

 3      lines, we don't -- I don't think we have a position.             We do

 4      have a position on the last -- the bracketed language in the

 5      last line.

 6                   THE COURT:    All right.   What's the government's point

 7      of view?

 8                   I think I can skip, "that is the subject of a

 9      statute, regulation, or government form," because that is the

10      basis for my legal ruling, it's not a jury problem.

11                   MS. GASTON:   The government agrees with that.

12                   THE COURT:    All right.   I think that when you get to

13      the next bracket, he has a legal duty to be truthful and

14      complete.    It's the "and complete" that is the primary subject

15      of the defendant's objection.       I'm not sure it's necessary.          I

16      think it's a fair statement of the law, but I think when we say

17      he has a legal duty to be truthful and he has a duty not to

18      omit facts that leave his answers false or misleading, that

19      covers it.

20                   MR. TAYLOR:   We agree.

21                   MS. GASTON:   The government agrees.

22                   THE COURT:    All right.   And while I recognize the

23      defendant's decision to abstain from the discussion of this

24      issue because it doesn't want to give any indication that it

25      agrees that this duty exists, I believe that I have made a
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 52 of 100          3318


 1      concerted effort in these instructions to reflect what is also

 2      the defendant's position, that a scheme must be affirmative.

 3      And, so, there's language in there that underscores that.

 4                  I don't know that we need, in essence, an affirmative

 5      misrepresentation.

 6                  MS. GASTON:    We don't think it's necessary, Your

 7      Honor.

 8                  THE COURT:    Okay.   All right.    Let's talk about the

 9      last sentence.     What's your objection?      Which part?

10                  MR. TAYLOR:    Well, we object to it for the same

11      reasons that we have stated previously.         We think that the law

12      is that he cannot make false statements under any

13      circumstances, and that's as far as you should go.

14                  THE COURT:    Well, one of the reasons I read at length

15      from Calhoun and other cases this morning, is that my review of

16      all the cases that everyone has -- both sides have been citing

17      to me and that Safavian cites, seems to indicate that the

18      essence of a scheme is deceiving or misleading the person

19      you're talking to.      And in -- I think it was Calhoun, it was

20      particularly phrased in terms of the decision-makers.            So I

21      think this is a correct statement of the law.

22                  MR. TAYLOR:    We would --

23                  THE COURT:    I think it's fine to say that if a person

24      chooses to undertake to persuade the government to make or

25      change a particular determination, and I don't think they need
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 53 of 100        3319


 1      "being made with respect to a statute or regulation," because I

 2      think that's the legal hook.        He cannot make statements

 3      designed to deceive or mislead the decision-makers, and I can

 4      put a period after that.

 5                  MS. GASTON:    We're fine with that, Your Honor.

 6                  MR. TAYLOR:    Then are you striking the language in

 7      the last bracket?

 8                  THE COURT:    That begins with "because," yes, until

 9      the end.

10                  The materiality one, I believe, is the government's

11      plus part of what the defendant wanted to add.          But I think

12      that's not inconsistent with -- that's not a new creation of

13      mine, it just came out of the proposed instructions.             Is there

14      any objection to the materiality paragraph?

15                  MR. TAYLOR:    Your Honor, we believe that you should

16      restrict the government to material facts which are in

17      paragraph 63, and only a small subset of those which survive

18      the Court's earlier rulings.        We would like to address you on

19      which ones of those the government should be permitted to argue

20      or list or put to the jury as examples of material facts.            63

21      is the only paragraph in the indictment which reflects an

22      allegation from the grand jury that he made omissions of

23      material facts after October.

24                  THE COURT:    Well --

25                  MR. TAYLOR:    Mr. Marcus is --
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 54 of 100           3320


 1                  THE COURT:    The indictment said -- and I wish

 2      somebody had put this in the proposed jury instructions so I

 3      could have thought about it before this minute.          But, the

 4      indictment said "including."

 5                  I guess let's start with the question of:            Are there

 6      any that aren't in there that you're planning to argue?

 7                  MS. GASTON:    Your Honor, I -- I don't believe so,

 8      Your Honor.    With the exception of the addition of David

 9      Herszenhorn that we flagged on the day of the Rule 29

10      arguments, as well as the -- I believe that the contention by

11      the defense is that the -- giving the reports to Mr. Weber is

12      not one of the facts that is alleged in the indictment.             We

13      disagree because it's alleged in the factual basis that is

14      incorporated into the charged count, as well as paragraph 63.

15                  But, I don't think we're alleging anything outside of

16      that.   We're going by the chart that we prepared with -- and

17      we've removed the things that you indicated in the conference

18      last week should not be argued as concealed facts, and then

19      we've added Mr. Herszenhorn.       Those are the facts that we are

20      going to allege were concealed.

21                  THE COURT:    Is there anything in the chart that

22      you -- as it was revised at the conference, that you say falls

23      outside of the indictment?

24                  MS. MARCUS:    The only one, I believe, that is wholly

25      outside of the indictment, as far as an allegation of a
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 55 of 100      3321


 1      concealed material fact, is providing the copy of the report to

 2      Vin Weber.    There's an allegation that it was done, but no

 3      allegation that that fact was concealed.         And in fact, in the

 4      reference to the June letter, there is a -- you know, the

 5      language that the copies of the report were given to the

 6      representatives of the government of Ukraine, we're not sure

 7      there's been any evidence that would support giving to the jury

 8      the option of finding that that fact had been concealed.

 9                   THE COURT:    Well, I think one could argue whether

10      that is a straight answer to, To whom did you give it and when?

11      And I don't believe there's any lack of notice that that's

12      something the government planned to prove that he did.           And I

13      think they've argued all along that his answer to, To whom did

14      you give it and when? was incomplete.

15                   MS. MARCUS:   I think our position would be that it's

16      a variance.

17                   MS. GASTON:   Your Honor, the very first bullet point

18      on page 21 of the indictment is that the defendant, consistent

19      with the media strategy, connected Mr. Sanger with Mr. Weber in

20      October 2012, and that also incorporates -- I believe it's

21      paragraph -- the paragraph earlier in the indictment that

22      specifically alleges that he provided a copy of the report to

23      Mr. Weber.

24                   THE COURT:    I need to look at the indictment again.

25      Do you have a case that I need to look at on variance?
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 56 of 100     3322


 1                  MS. MARCUS:    I don't have the case in front of me,

 2      Your Honor.    I think there's -- paragraph 63, you know, it's a

 3      notice issue and it's an issue of the grand jury's findings.

 4                  MR. TAYLOR:    Page 20, 21.

 5                  MS. GASTON:    So, Your Honor, paragraph 33 of the

 6      indictment specifically states that Mr. Craig emailed

 7      Mr. Sanger and asked him if he would take a call from

 8      Mr. Weber, that Mr. Sanger replied affirmatively, that on

 9      October 3rd Mr. Craig connected them, and that Mr. Craig had

10      his assistant deliver a hard copy to Mr. Weber's office.         And

11      then paragraph 63 of the indictment specifically lists that

12      material facts that he omitted included connecting Mr. Sanger

13      with Mr. Weber in October 2012.

14                  MS. MARCUS:    Your Honor, I think that it's important

15      to point out the distinction between connecting them and

16      providing a copy, because if the duty arises from questions,

17      the only question to which any of this is argued to be

18      responsive is a question about, To whom, if anyone, did you

19      provide a copy of the report and when?

20                  That's what the government, on their chart, has

21      argued that this omission is responsive to.          And if it's the

22      part about providing a copy of the report that's new, and

23      that's the only part to which, you know, any arguable duty

24      arising from questions runs, then there's -- it's both a

25      variance problem and a problem of whether there's sufficient
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 57 of 100     3323


 1      evidence of a duty as to that omitted fact -- allegedly omitted

 2      fact.

 3                   MS. GASTON:    And there's nothing new because all of

 4      those facts are provided and alleged in the indictment.          And in

 5      addition, the specific question was:         To whom did you provide

 6      the report and when? and the answer to that was misleading

 7      because when it groups Mr. Weber in agents of Ukraine, it also

 8      does not say when he was provided with it, which was

 9      significantly earlier than the other people listed in that

10      paragraph.

11                   THE COURT:    All right.   I'm going to take this under

12      advisement.    I would appreciate, if there's some key authority

13      that you think I should look at, that tells me that that's a

14      variance when it's in the indictment and the paragraph says

15      "including" and they can't make that argument that that's a

16      fact among the facts, I would like to know what case you're

17      relying on for that proposition.

18                   MS. MARCUS:    Yes, Your Honor.    And if you wouldn't

19      mind, while we're on the chart, I agree with you that it's a

20      very helpful chart.       When the government provides a helpful

21      chart, you tip your cap and use it.

22                   Numbers 3 and 4 on their chart -- and I believe the

23      list was compiled before Your Honor had let us know that the

24      duty in this case is one not imposed by the statute, but simply

25      by the questions and by approaching the agency.
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 1                   THE COURT:    Right.   And I don't have the chart in

 2      front of me, but I walked through it and I said some would not

 3      be argued as the actionable omissions.

 4                   MS. MARCUS:   I understand, Your Honor.       And I think

 5      we have a few points as to additional ones where we would argue

 6      that the government should not be allowed to put them to the

 7      jury as actionable omissions.

 8                   THE COURT:    All right.   Why don't we do this, if you

 9      don't mind.    Let me finish this instruction and then we'll take

10      a break and I'll retrieve my chart and I'll be in a better

11      position.    But I have notes all over it.

12                   MS. GASTON:   Okay.

13                   THE COURT:    I'll be in a better position to answer

14      these questions and maybe by then you will have also retrieved

15      a case.

16                   So, there's still a separate question of whether I

17      have to list them to the jury, or the restriction is on what

18      they get to argue and what the jury gets to find.           So what's

19      the position about why I have to list them in my jury

20      instructions --

21                   MR. TAYLOR:   Because --

22                   THE COURT:    -- especially since no one provided me

23      with a jury instruction in which I would do that.           This is

24      brand new.

25                   MR. TAYLOR:   The -- what we're asking the Court to do
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 1      is cabin the material facts omitted to those which you have

 2      approved.    And although we disagree with some of your

 3      decisions, it, nevertheless, is a question whether the

 4      government would be able to argue that there are other

 5      omissions, omissions other than those in paragraph 63 and those

 6      which you have excluded based on their charge, that they should

 7      be permitted to argue.

 8                  And so we are asking that you do list the material

 9      facts that are alleged to be concealed or withheld after you --

10      after you define materiality.

11                  THE COURT:    I have also said that they can bring

12      those out because they may reflect on his intent.           So, the fact

13      that they happened, I didn't say they couldn't bring out, it's

14      just whether they argued that they are actionable or not.

15                  So what is your position about whether I should tell

16      them which ones?

17                  MR. CAMPOAMOR-SANCHEZ:      I don't think it's necessary.

18      But, so, maybe we'll give some comfort to the defense, but

19      we've structured our closing argument along the eight specific

20      omissions that the Court approved, and they will be -- we are

21      listing them as eight and going one by one over them.            So we

22      will be making clear which are the material omissions, and

23      those are the ones that the Court has approved.

24                  THE COURT:    I mean, one thing I think the defendant

25      needs to think about is while you don't want the jury to go off
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 60 of 100        3326


 1      and come up with its own, am I unduly highlighting them by

 2      pointing them out:      You could find that this is false, you

 3      could find that that is false.        Do you really want me doing

 4      that?

 5                  MR. TAYLOR:    That's a good point, which we need to

 6      think about.     I do take some comfort from what Mr. Campoamor

 7      said.   But, it's not a question of what they can argue, it's a

 8      question of what the jury can consider to be allegations of

 9      concealment in determining guilt or innocence.

10                  THE COURT:    I understand.     And --

11                  MR. TAYLOR:    They've got to -- you're telling them

12      that they've got to be unanimous on the material --

13                  THE COURT:    One.

14                  MR. TAYLOR:    But it has to be a material fact, and

15      the only material facts alleged are those in paragraph 63.

16                  THE COURT:    Well, let's think about it.       If you don't

17      want it at the end of the day, then I won't do it.           If you

18      think I should do it, then I need to figure out if I have to do

19      it, and then there's the notice variance issue about which one

20      would be included.

21                  So, I want to put, whether there will be an insert

22      between the second and third paragraphs on page 14, that issue

23      aside for the moment and keep walking through the text of the

24      rest.

25                  So we're into the scheme, trick, or device.
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 1                  MR. TAYLOR:    We object to the language in the fourth

 2      line, "Omitting facts needed to make a statement not

 3      misleading," and we request that you delete that.

 4                  THE COURT:    Okay.   I'm not going to do that.

 5                  MR. TAYLOR:    In the next paragraph, I think we

 6      discussed that in connection with element two.

 7                  THE COURT:    Yes.    So, at the top of page 15, where it

 8      says you are instructed that while you may find that the

 9      defendant engaged in affirmative -- all right.          So I'm taking

10      out -- I don't know that we need it at all.          Then I think --

11      they have to be unanimous, don't you agree, that the scheme

12      continued after October 3rd?       That is something you've all

13      emphasized to me, is that correct?

14                  MR. TAYLOR:    Not only is it a --

15                  THE COURT:    They took an act.

16                  MR. TAYLOR:    That a crime occurred after October 3rd.

17                  THE COURT:    Okay.   Okay.   So --

18                  MR. TAYLOR:    I think you could take the whole

19      paragraph out, frankly.

20                  THE COURT:    Well, it's certainly a sufficiency

21      question, whether they proved an affirmative act for the

22      statute of limitations purposes.        You had specifically asked

23      for an instruction that they must be unanimous that he acted on

24      at least one occasion after October 3rd, 2013.

25                  MR. TAYLOR:    And you have said that.      And when you go
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 62 of 100    3328


 1      through the numbered elements, you said exactly that.

 2                  MS. GASTON:    And then at the end of the middle

 3      paragraph on page 14, you instructed them that they have to be

 4      unanimous as to one fact.

 5                  THE COURT:    All right.    So what if I just say:   This

 6      requirement of an affirmative act brings me back to the first

 7      element I listed, that you must unanimously find that the

 8      defendant acted on at least one occasion after October 3rd,

 9      2013, period, end of paragraph.

10                  MR. TAYLOR:    That the defendant acted?       No.

11                  THE COURT:    That defendant engaged in an affirmative

12      act?

13                  MR. TAYLOR:    It's not an -- an affirmative act is not

14      sufficient.    It's a -- it's an actual concealment must occur

15      after October --

16                  THE COURT:    An affirmative act of concealment, it's a

17      scheme.    That he acted in furtherance of the concealment

18      scheme.    This requirement -- all right.       This requirement of an

19      affirmative act brings me back to the first element I listed,

20      that you must unanimously find that the defendant engaged in an

21      affirmative act of concealment on at least one occasion after

22      October 3rd, 2013, period.

23                  MR. TAYLOR:    Yes.

24                  THE COURT:    And I've already talked, before we

25      started, about things that happened that the government can
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 63 of 100      3329


 1      fairly argue fall within that category.

 2                   All right.    Knowingly and willfully.     Your objection

 3      to a higher standard for willfully is noted.          But there is a

 4      bracketed portion that he acted with the knowledge that his

 5      conduct, and I put in the bracketed portion to deal with the

 6      issue and burden, in the event people think it's an issue here,

 7      that otherwise this is ambiguous.        I don't know any other

 8      unlawful conduct anyone suggested in this case that he

 9      committed, but I'm happy to include that, if you think it's

10      necessary.

11                   MR. TAYLOR:   No.   We would request that you include

12      the bracketed language, but that you add theses words:           That he

13      knew he had a duty to disclose.        That is, concealing or

14      covering up a fact that he knew he had a duty to disclose.

15                   MS. GASTON:   And, Your Honor, that is imposing a

16      higher burden.     So I think -- I don't think that this bracketed

17      language is necessary at all, but if the defendant is concerned

18      about the issue "and burden," then the bracketed text that you

19      have should take care of it.

20                   MR. TAYLOR:   Well, respectfully, Your Honor, what he

21      has to know is that that his conduct is unlawful and in order

22      to know that his conduct is unlawful, he's got to know that he

23      is violating a duty.

24                   THE COURT:    No, I think what he had to know is that

25      his answers were responsive -- were not responsive to the
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 64 of 100         3330


 1      questions, or there were deliberate omissions in the answers,

 2      that that's what he had to know.        And that's what he had to

 3      willfully do, deceive or mislead, or conceal.

 4                   MR. TAYLOR:   In violation --

 5                   THE COURT:    All right.   And on the page before, where

 6      I said he cannot make statements designed to deceive or mislead

 7      the decision-makers because they are false or they omit facts

 8      he knows to be material to the determination, you asked me to

 9      take that out.

10                   MR. TAYLOR:   Yes.

11                   THE COURT:    All right.   Well, I don't think -- I

12      think what you are trying to do is import the language of a

13      specific intent instruction here.        I think the crime, as we've

14      said all along, is engaging in a concealment scheme.             That's

15      the crime.    That's the crime he has to know he did.            Doesn't

16      have to know what specifically made it illegal or not illegal.

17      He had to be well aware of the fact which is alleged, that he

18      said something that wasn't true or misled or omitted to conceal

19      the facts that were material.

20                   MR. TAYLOR:   Your Honor, concealment requires a duty.

21      Failure to disclose or to conceal requires a duty, and we

22      believe that the law would require that the jury be told that

23      he -- in your bracketed language, concealing or covering up a

24      fact, that you should add the words "that he knew he had a duty

25      to disclose."     That is not a -- that's not a stretch.          It
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 65 of 100       3331


 1      simply describes --

 2                  THE COURT:    I'm willing to say, "Concealing or

 3      covering up a fact that he had a duty to disclose."

 4                  MR. TAYLOR:    He has to know --

 5                  THE COURT:    I think you're adding a different layer

 6      of knowledge here.      All he has to know is that what he was

 7      saying wasn't answering the questions.         This is 1001.     Did he

 8      answer -- was he truthful or did he scheme to conceal and

 9      defraud?    That's it.    You said all along it's up or down, yes

10      or no.   And so, I think trying to say that he knew he had the

11      duty is trying to get into the specific intent.          It's almost

12      verbatim from the specific intent instruction that you asked me

13      to give, and it's what all these case law says, I don't have to

14      be that specific.

15                  MR. TAYLOR:    Well, you'll -- we understand that

16      you've ruled, or you've almost ruled, and we stand on our

17      request that he must -- the jury should be told that he

18      knowingly violated a duty in a concealment.          Saying something

19      is false is one thing, but because this is a concealment scheme

20      and he is -- this relates to concealing or covering up a fact,

21      it's essential the jury know that when he did that, he knew he

22      was violating --

23                  THE COURT:    The duty we're talking about is the duty

24      to tell the truth when you talk to the government.

25                  MR. TAYLOR:    Except --
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 1                  THE COURT:    There's some higher standard of intent

 2      that needs to be told that you have a duty that -- I mean, I

 3      just --

 4                  MR. TAYLOR:    Well, this language relates -- it

 5      doesn't relate to telling the truth, it relates to concealing

 6      or covering up a fact.

 7                  MS. GASTON:    Right, because this language is intended

 8      to cure the issue.

 9                  MR. TAYLOR:    Sorry, Miss Gaston, you're --

10                  THE COURT:    I don't think there is a burden issue.

11      Okay?   So as far as I'm concerned, we don't have to say it at

12      all.    We could just finish that -- to prove the defendant acted

13      willfully -- this is the Bryan instruction -- the government

14      must prove that he acted with the knowledge that his conduct

15      was unlawful, period.

16                  MS. GASTON:    That's what the government would

17      request, Your Honor.

18                  MR. TAYLOR:    Note our objection.

19                  THE COURT:    All right.

20                  Now, the sixth one was what everyone proposed.       So

21      that's not a change.

22                  The question is, then, whether I need to tell them

23      about FARA, or not.      If I tell them about FARA, I'm going to

24      tell them about FARA verbatim and not FARA paraphrased, and

25      that's what this is intended to do.
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 1                  The reason I think it might be necessary is, it is a

 2      jury question and not a question of law, whether the facts were

 3      material.    And this conversation was about whether FARA applied

 4      or it didn't.     So it seems to me what it is, is something that

 5      informs whether the facts were material and, therefore, with

 6      that, I would be willing to tell them what it is.           So --

 7                  MR. TAYLOR:    We're okay with that.      We only had a

 8      couple of small points that we wanted you to consider in

 9      connection with this language.

10                  THE COURT:    All right.    Well, the government had not

11      wanted me to give a Foreign Agents Registration Act instruction

12      at all, so I just want to make sure that we're now all okay

13      that I'm going to say something about it.

14                  MS. GASTON:    Yes, Your Honor, we're fine with it, as

15      long as it is like this, taken from the statute.

16                  THE COURT:    All right.    Mr. Taylor?

17                  MR. TAYLOR:    About halfway down the discussion, it

18      should be --

19                  THE COURT:    Which page am I on?

20                  MR. TAYLOR:    I'm sorry.    I'm going back and forth.

21      16.

22                  THE COURT:    Okay.   All right.

23                  MR. TAYLOR:    This we request that you make either/or.

24      Strike the word -- to the two bullets that are indented, strike

25      the word "and" and strike the words "information service
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 68 of 100    3334


 1      employee or political consultant" because that's not relevant

 2      here.

 3                   THE COURT:    All right.   Let me just go back to the

 4      beginning.    So, Whose activities, dah, dah, dah, are financed

 5      by a foreign principal, and either who engages within the

 6      United States in political activities, or who acts -- now,

 7      that's not in the statute, but I think it's clarifying, that's

 8      fine.

 9                   MR. TAYLOR:   And you could say, "and who either,"

10      after the word "principal."

11                   THE COURT:    And who either engages or acts.

12                   MR. TAYLOR:   Right.   Yes.

13                   THE COURT:    And you want me to take out, "Information

14      service employee or political consultant"?

15                   MR. TAYLOR:   Yes, Your Honor.

16                   THE COURT:    Is that agreeable to the government?

17                   MR. CAMPOAMOR-SANCHEZ:     May we have one second here,

18      Your Honor?

19                   MS. GASTON:   One moment, Your Honor.

20                   THE COURT:    All right.

21                   (Pause.)

22                   MR. TAYLOR:   While they're consulting, you could

23      strike the first line, which says Count 1 is the only charge in

24      this case.

25                   THE COURT:    Okay.   I was going to change it to the
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 69 of 100      3335


 1      alleged scheme to conceal material facts is the only charge in

 2      this case.    The defendant is not charged.       But it's not

 3      necessary to do the contrast.

 4                   But, they're trying to think about their answer to

 5      the other question.       Let's let them tell me before we make them

 6      do something else.

 7                   Yes?

 8                   MS. GASTON:    So, Your Honor, we would be fine with

 9      striking "or political consultant," but the letter that is

10      Government's Exhibit 5 does use the phrase "Information service

11      employee," so we would think they should receive that.

12                   THE COURT:    All right.   So I'll say, "Or within the

13      United States as a public relations counsel, publicity agent,

14      information service employee."        I'll take out "or political

15      consultant."

16                   Going back to page 15, do we need a statement saying

17      that the scheme is the only charge?        Or do we just go straight

18      to the defendant is not charged.

19                   MS. GASTON:    We can go right to the defendant is not

20      charged.

21                   THE COURT:    Okay.   All right.   Anything else on page

22      16?

23                   MR. TAYLOR:    Yes, Your Honor.    We request that you

24      add, at the end, after the paragraph that begins, "The term

25      publicity agent."
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 1                  THE COURT:    Um-hum.

 2                  MR. TAYLOR:    You add the words, quote:       A person has

 3      no obligation to register if he or she is acting on his own

 4      behalf or for his own interests, as opposed to acting for or in

 5      the interest --

 6                  THE COURT:    No.   I'm going to tell them what FARA

 7      says.   And what FARA says is -- we've got all over the place --

 8      at the order, request, or under the direction or control for

 9      or -- I'm quoting the language of the statute here.              Your

10      objection is noted.

11                  MR. TAYLOR:    Thank you.

12                  MS. GASTON:    And then, Your Honor, because we list

13      public relations counsel, publicity agent, and information

14      service employee, and then give the definition for public

15      relations counsel or publicity agent, we would submit that we

16      should also give the definition for information service

17      employee from the statute.

18                  THE COURT:    All right.

19                  MR. TAYLOR:    Since we object to the whole idea, we

20      object to that, too.

21                  THE COURT:    All right.    What does it say that person

22      does?

23                  MS. GASTON:    It includes any person who's engaged in

24      furnishing, disseminating, or publishing accounts,

25      descriptions, information or data with respect to the
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 71 of 100        3337


 1      political, industrial employment, economic, social, cultural --

 2                  Oh, are you actually writing it down now?

 3                  THE COURT:    No, I was listening, but there is a court

 4      reporter typing what you say.

 5                  MS. GASTON:    Or data with respect to the political,

 6      industrial, employment, economic, social, cultural, or other

 7      benefits, advantages, facts, or conditions of any country other

 8      than the United States, or of any government of a foreign

 9      country, or of a foreign political party, I think that part can

10      be --

11                  THE COURT:    Started with the "or any data," I think

12      is gone.

13                  MS. GASTON:    Yes.

14                  THE COURT:    Read me the first part again.

15                  MS. GASTON:    The term information service employee

16      includes any person who is engaged in furnishing,

17      disseminating, or publishing accounts, descriptions,

18      information, or data with respect to those things.

19                  THE COURT:    All right.    I'll do that much.       I'm not

20      sure it really bears on this very much.

21                  MR. TAYLOR:    This doesn't apply, Your Honor.

22                  MS. GASTON:    Well, it's cited in the determination

23      letter.

24                  THE COURT:    All right.    I'll just -- we're not

25      arguing whether the determination is correct, we're arguing
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 72 of 100      3338


 1      whether these facts were important to a reasonable agency.

 2                  Now, I added the last -- the second to the last

 3      paragraph, or the last paragraph on page 16.          The defendant, I

 4      think, fairly raised concerns about activities outside the

 5      United States and so I think it's important to clarify that and

 6      so I've added that.

 7                  And the final sentence is just to avoid any concern

 8      that there's some suggestion that there was something illegal

 9      about being an agent at all, or of being paid by the Ukraine or

10      anything like that.      So I don't have to give that, but I think

11      it's appropriate to give that.        The top of page 17.

12                  MR. TAYLOR:    We don't object.

13                  THE COURT:    All right.    So --

14                  MR. TAYLOR:    Your Honor?

15                  THE COURT:    Yes.

16                  MR. TAYLOR:    I wanted to be sure that my -- the

17      language we were requesting was fully in the record, and you

18      advised that you were not going to give it, but I'm not sure I

19      got to the end of my sentence.

20                  THE COURT:    Go ahead.

21                  MR. TAYLOR:    The language we're requesting is, quote,

22      A person has no obligation to register if he or she is acting

23      on his own behalf or for his own interest, as opposed to acting

24      for or in the interest of a foreign principal, close quote.

25      That's the language we'd requested that you give.           And I
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 73 of 100      3339


 1      understand you said you're not going to do it.

 2                  THE COURT:    Right.   And it was in your written

 3      submission, too.     But that's fine to put on the record.

 4                  MR. TAYLOR:    All right.    Thank you.

 5                  THE COURT:    Okay.    I believe that we have now been

 6      through every instruction, we know what the changes are we're

 7      going to make to the instructions.        The only issue I haven't

 8      ruled on is whether I should include an instruction

 9      specifically identifying the material facts they may consider.

10                  One thing we were going to do is have the defense

11      confer about whether they want me to do that or not,

12      notwithstanding legal reasons why they think I should.           There

13      may be strategic reasons why I shouldn't.         So you need to think

14      about that and I need to look at the variance issue with

15      respect to whether Vin Weber is an actionable omission, or not.

16      I will do that.

17                  It is ten of 12, we told the jury to come at one.            It

18      seems to me to be eminently possible and highly desirable to

19      begin your closing arguments at one.         So what I suggest we do

20      is to return at 12:45 and deal with those final questions and

21      then bring the jury in.

22                  MR. TAYLOR:    Very well, Your Honor.

23                  THE COURT:    The problem is that there might be a

24      little time gap then for inserting the list.

25                  MR. TAYLOR:    Your Honor, there is one other request.
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 1      We had, in response to a request from you, given you a proposed

 2      instruction on mens rea, which included a good faith

 3      instruction.     You have indicated you don't intend to give an

 4      instruction on good -- or, you haven't included one.             We

 5      request that you include one.       And I've excerpted this from the

 6      pleading that we filed.      I would like to hand it up, if I may.

 7                  THE COURT:    All right.

 8                  When was the evidence that he acted under a good

 9      faith belief that he didn't have to tell them those facts?              I

10      thought the evidence was that he acted under the good faith

11      belief that he told them what they needed to know, and that

12      his -- it's all in there, if you look.         He said in making those

13      characterizations I was not acting at the behest of, informing,

14      etcetera, and so that told them what they needed to do.               Where

15      did he say he didn't think he had to answer the questions or

16      disclose these meetings?

17                  He said, when he said he gave it out between the 12th

18      and the 13th, and he listed all the important newspapers that

19      he did disclose it, that putting it in a footnote he did

20      disclose it.     I don't recall that he testified:       I went in

21      there and thought about these facts and truly believed that I

22      didn't have to tell them those.        Why is this an appropriate

23      instruction?

24                  MR. TAYLOR:    Well, it's an instruction on the defense

25      theory of the case and it's a standard instruction on good
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 75 of 100         3341


 1      faith.

 2                  Let me also hand you a citation called United States

 3      versus Hurt.

 4                  THE COURT:    But, and instruction has to be supported

 5      by evidence.     And it's one thing to say he said at various

 6      times that he reasonably believed that what he did did not

 7      cross the FARA registration line.        He made that point.     But

 8      what testimony is there that he didn't reasonably think that

 9      those facts were the facts they were asking for and that he was

10      supposed to disclose?      He --

11                  MR. TAYLOR:    I very specifically asked him, Did you

12      believe that you were concealing anything from the FARA unit

13      that it was asking you to disclose?        I asked him that question

14      on repeated occasions and he said, No.

15                  THE COURT:    But he explained that the reason he

16      didn't believe he was concealing it was because he didn't

17      conceal it.    He never said, I didn't think that I had any

18      obligation to disclose it.       He said, I told them, it's there.

19                  MR. TAYLOR:    I actually believe the transcript will

20      reflect that I asked him, Did you believe you were concealing

21      anything you thought you had an obligation to disclose?

22                  And, frankly, of course, the October meeting is very

23      different from the other part of the government's case.          A good

24      faith instruction is -- is mandated, strikes me, from the

25      Court's decision in Hurt and others, that if it is -- if it is
     Case 1:19-cr-00125-ABJ Document 155 Filed 09/11/19 Page 76 of 100       3342


 1      a correct -- if it's correct, and it is, about what his good

 2      faith -- what the relevance of his good faith belief is, then

 3      the Court should give it.

 4                  THE COURT:    All right.    I'll look at the case.    Does

 5      the government have a point of view?

 6                  MS. GASTON:    Yes, Your Honor.     This is -- this

 7      instruction is basically proposing, in another way, that the

 8      mens rea that is relevant here is whether he knew that he had a

 9      legal -- this basically is, again, trying to go around the

10      appropriate willfulness standard in this case.          And --

11                  THE COURT:    That's what Cheek was all about, was the

12      interplay of willfulness and good faith.         And so, I think I

13      need to look at that case as well.

14                  Go ahead.

15                  MS. GASTON:    Yes.   But, the good faith -- it's not

16      whether he believed he had a legal duty to disclose the facts,

17      it's whether he, you know, thought he was answering the

18      questions, and that was not -- that was not the evidence that

19      is in the record here.

20                  MR. TAYLOR:    Your Honor.

21                  THE COURT:    I'm going to say what the legal duty is

22      and that they have to find that he violated it.          And I think he

23      may be entitled to an instruction that if he believed in good

24      faith that his actions complied with the law, that good faith

25      is a defense.     But I think the question is, comply with the
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 1      law.   With respect to willfully, the law is 1001(a)(1), that's

 2      the law.

 3                  MR. TAYLOR:    May I read you a couple of lines from

 4      the transcript?

 5                  THE COURT:    Yes.

 6                  MR. TAYLOR:    At the end of his direct examination I

 7      asked him, quote, on page 2992:

 8                  "Did you leave anything out of the letter that you

 9      thought FARA was asking for?

10                  "No.

11                  And then, "Did you ever intentionally leave something

12      out of a letter or a meeting that you thought they had asked

13      you to provide?

14                  "No."

15                  So I do think the evidence is in the record of --

16      that supports the good -- such a good faith instruction, Your

17      Honor.

18                  THE COURT:    All right.    Well, you know, I do believe

19      that at the time those answers seemed to be that nothing was

20      concealed, as opposed to I concealed it because I didn't think

21      I had to say it, which is different.         That doesn't mean that

22      you're not entitled to some kind of good faith instruction,

23      since there is a requirement that the jury find that he

24      willfully acted in violation of the law.         But narrowly defining

25      the law as the legal duty to disclose facts to the FARA unit, I
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 1      think that this instruction has to parallel the willfulness

 2      instruction and what he's accused of doing, which is engaging

 3      in a scheme to conceal material facts.

 4                  So, I might want to tweak this instruction.          At the

 5      time, I believe it was woven in with your willfulness

 6      instruction, which is why I need to address that separately.

 7      But, it's a fair request for me to address it separately, so I

 8      will.   And I think you need to know what I'm going to say

 9      before you argue.

10                  So, I think we should come back in 45 minutes.

11                  MR. TAYLOR:    All right.

12                  THE COURT:    Do you know now, have you talked among

13      yourselves about whether you want me to list the material

14      facts, or you don't?

15                  MR. TAYLOR:    Not yet.

16                  THE COURT:    All right.    If you decide, if you could

17      send Mr. Haley an email, or send the ECF inbox an email so that

18      we could stop worrying about it, that would be helpful.

19                  All right.

20                  MR. TAYLOR:    Oh, Your Honor, we -- pursuant to Rule

21      29, we asked the Court to dismiss the case at the close of all

22      the evidence, and we renew our motion that the Court dismiss

23      the case based upon the insufficiency of the government's proof

24      in its own case.     We understand you have reserved.

25                  THE COURT:    I have reserved and I'm going to continue
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 1      to do so.    But your motion is noted.

 2                  MR. TAYLOR:    Thank you, Your Honor.

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 1

 2                   CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                 I, JANICE DICKMAN, do hereby certify that the above

 6      and foregoing constitutes a true and accurate transcript of my

 7      stenograph notes and is a full, true and complete transcript of

 8      the proceedings to the best of my ability.

 9                             Dated this 3rd day of September, 2019.

10

11

12                                  /s/________________________

13                                  Janice E. Dickman, CRR, RMR, CRC
                                    Official Court Reporter
14                                  Room 6523
                                    333 Constitution Avenue NW
15                                  Washington, D.C. 20001

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